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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,                   Civil Action No. 2:15-cv-998-JRG-JRP

               v.                                      CONSOLIDATED LEAD CASE

 NVIDIA CORPORATION, et al.,                             JURY TRIAL DEMANDED

                       Defendant.


              JOINT MOTION TO STAY ALL PENDING DEADLINES AND
                          NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant JK Imaging Ltd.

 (“Defendant”) (collectively, “the parties”) have reached a settlement agreement in principle that

 resolves all matters in controversy between Plaintiff and Defendant in the above-entitled and

 numbered action. The parties expect to jointly file a dismissal with prejudice of all claims

 between them within 30 days. Accordingly, Plaintiff and Defendant respectfully request the

 Court stay all deadlines between them for 30 days, up to and including March 7, 2016. Plaintiff

 and Defendant request this Stay, not for the purposes of any delay, but so that they may finalize

 the settlement agreement and file dismissal papers without incurring additional expenses.
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       DATED February 5, 2016.            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of February, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
 Marshall Division, using the electronic case filing system of the court. The electronic case filing
 system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
 writing to accept this Notice as service of this document by electronic means.

                                              /s/ Krystal L. McCool
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